Case 1:18-cv-00827-CFC-JLH Document 467 Filed 07/08/22 Page 1 of 8 PageID #: 42881
Case 1:18-cv-00827-CFC-JLH Document 467 Filed 07/08/22 Page 2 of 8 PageID #: 42882
Case 1:18-cv-00827-CFC-JLH Document 467 Filed 07/08/22 Page 3 of 8 PageID #: 42883
Case 1:18-cv-00827-CFC-JLH Document 467 Filed 07/08/22 Page 4 of 8 PageID #: 42884
Case 1:18-cv-00827-CFC-JLH Document 467 Filed 07/08/22 Page 5 of 8 PageID #: 42885
Case 1:18-cv-00827-CFC-JLH Document 467 Filed 07/08/22 Page 6 of 8 PageID #: 42886
Case 1:18-cv-00827-CFC-JLH Document 467 Filed 07/08/22 Page 7 of 8 PageID #: 42887
Case 1:18-cv-00827-CFC-JLH Document 467 Filed 07/08/22 Page 8 of 8 PageID #: 42888
